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Request #

Description

Received Date

 

Estimated Delivery Date

 

 

 

 

 

 

 

 

 

2021-CGFO-01281 |communications from Sector Miami concerning the Maersk line 9/29/2020 11/2/2020] Being processed by SEC Miami with CYBER search
and Captain of the Port (COTP) orders from the sector
concerning COVID-19 (Date Range for Record Search: From
6/15/2020 To 9/28/2020).
2021-CGFO-01193 | Attached is a post from the Maritime Legal Aid & Advocacy 4/28/2021 5/31/2021] CG-6P. Some the responsive materials (original request
{MLAA) webpage. This post states it is based upon documents submission) includes personnaly identifiable information
provided by the USCG via a FOIA request. MLL requests a copy (Pll) which is usually protected from release under
of the complete USCG FOIA which this post is based upon. (Date Exemption 6. Pll includes names of individuals (not the
Range for Record Search: From 01/01/2020 To 04/28/2021) name of the requester), email addresses, telephone
numbers, etc. Records that contain information that is
usually withheld from release must undergo a legal
sufficiency review before release. This may add
additional time to complete the request. Alternatively,
you may amend your request to accept a copy of the
responsive records with Pil redacted. Please let me know
how you wish to proceed.
2021-CGFO-01037 |All records to include but not limited to hand written notes, 4/6/2021 5/23/2021) Final response being coordinated by CG-6P and being
interview summary and email communications between and/or processed by CGIS, CG-INV, and NMC
among Special Agent Denise Robinson, LCGR Brett Sprenger and
Ms. Jennifer Mehaffey concerning a conversation with Mr. John
Ryan Melogy (a/k/a J Ryan Melogy or Ryan Melogy) on or about
Thursday, January 28, 2021. This conversation was memorized
by Mr. Melogy in a letter sent to the Honorable Michael J. Devine
on February 8, 2021. (Date Range for Record Search: From
02/01/2015 To 04/05/2021)
2021-CGFO-01036 |USCG v. STINZIANO Docket Number 2020-0328 CG Enforcement 4/6/2021 5/23/2021] INV
Activity Number 5783758 the following CGIS interview, video and
written summary and CG 10 interview summary as follows:
Exhibit CG-05 date of September 20, 2019 ; Exhibit CG-06 date of
September 3, 2020; Exhibit CG-11 date of June 25, 2049; Exhibit
CG-12 CG Investigation Officer interview summary date of July 2,
2020Exhibit CG-15 date of August 31, 2020 (Date Range for
Record Search: From 02/01/2015 To 04/05/2021)
2021-CGFO-01035 |All statements from Maersk Idaho crewmember or crewmember 4/6/2021 5/23/2021/CGIS
of any other vessel concerning Mark Steven Stinziano and/or
John Ryan Melogy (a/k/a J Ryan Melogy or Ryan Melogy) from
any CG investigation. All investigation reports prepared by the
CG concerning Mark Steven Stinziano. (Date Range for Record
Search: From 2/1/2015 To 4/5/2021)
2021-CGFO-01034 |All electronic or paper copies of emails originating from John 4/6/2021 5/9/2021| Reopened and submitted to CG CYBER for records
Ryan Melogy (a/k/a J. Ryan Melogy or Ryan Melogy). All search. This will take time for records to be produced as
electronic or paper copies of social media posts originated by there is only one office in the USCG that has ability to
John Ryan Melogy (a/k/a J. Ryan Melogy or Ryan Melogy) and/or run these searches.
Maritime Legal Aid & Advocacy (MLA). (Date Range for Record
Search: From 02/01/2015 To 04/05/2021)
2021-CGFO-01014 | Any and all communications, in any format, to include but not 4/5/2021 5/8/2021) CGIS
limited to email with attachments and the associated metadata,
between and/or among the following: Control Agent CGIS New
England Region; DOT OIG New York, New York; SARC USMMA
Kings Point, New York; Legal Counsel USMMA; CG Sector; New
York 10 Shop; New York CGIS Det. New York; John Ryan Melogy
(a/k/a J Ryan Melogy and Ryan Melogy; Maritime Legal Aid &
Advocacy, LTD (a/k/a Maritime Legal Aid & Advocacy or MLAA);
Maritime Legal Solutions, PLLC; Anything concerning the
following: CSE-2018-11-000096; ACT-2018-11-000097; ACT-2018-
11-000097-0001; ACT-2018-11-000097-0002; ACT-2018-11-
000097-0003; ACT-2018-11-000097-0004; (Date Range for
Record Search: From 01/01/2018 To 04/03/2021)
2021-CGFO-01000 |All records and/or communications, to include but not limited to 4/1/2021 5/4/2021] Request is being processed by the CGIS. Due to the

 

emails (to/from/cc/bcc) and attachments between any active
duty, reserve and/or civilian personnel assigned to CG Sector
New York and/or any person connected with the Sandy Hook
pilots association and/or any employee of Tabak, Mellusi &
Shisha LLP to include but not limited to Jacob Shisha and/or
Ralph J. Meilusi. (Date Range for Record Search: From

 

12/29/2019 To 04/01/2021)

 

 

 

requested communications records, an external search
must be completed by CGCYBER.

 

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Oescription

Received Date

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Status

 

2021-CGFO-00999

All communications, in any format, to include but not limited to
emails—to/from/cc/bce John Ryan Melogy (a/k/a J. Ryan Melogy
or Ryan Melogy) and/or Maritime Legal Aid & Advocacy, LTD
{a/k/a Maritime Legal Aid & Advocacy or MLAA) and/or Maritime
Legal Solutions, PLLC and/or Special Agent Denise Robinson
and/or Mr. Charles Wolf on or about the following dates: 18 JUL
2020, 20 JUL 2020, 21 JUL 2020, 13 AUG 2020, 14 AUG 2020, 21
AUG 2020, 22 AUG 2020, 24 AUG 2020, 26 AUG 2020, 31 AUG
2020. (Date Range for Record Search: From 02/01/2015 To
03/31/2021)

4/1/2021

5/18/2021

CGIS

 

2021-CGFO-00998

All communications, in any format, between and/or among Ms.
Jennifer Mehaffey, Special Agent Denise Robinson and/or LCDR
Brett Sprenger on or about 28 JAN 2021 (Date Range for Record
Search: From 02/01/2015 To 03/31/2021)

4/1/2021

5/4/2021

Request was closed as a duplicate of FOIA 2021-CGFO-
01307. Correspondence with the notification was sent
on April 16, 2021.

 

2021-CGFO-00997

All communications, in any format, to include but not limited to
emails—to/from/cc/bcc John Ryan Melogy (a/k/a J. Ryan Melogy
or Ryan Melogy) and/or Maritime Legal Aid & Advocacy, LTD
(a/k/a Maritime Legal Aid & Advocacy or MLAA) and/or Maritime
Legal Solutions, PLLC and CG Administrative Law Judge the Hon.
Michael J. Devine on or about 08 FEB 2021. (Date Range for
Record Search: From 02/01/2015 To 03/31/2021)

4/1/2021

5/18/2021

AU

 

2021-CGFO-00996

Communications, in any format, to Include but not limited to
emails—to/from/cc/bec John Ryan Melogy (a/k/a J. Ryan Melogy
or Ryan Melogy) and/or Maritime Legal Aid & Advocacy, LTD
(a/k/a Maritime Legal Aid & Advocacy or MLAA) and/or Maritime
Legal Solutions, PLLC and Mr. Charles Wolf, CG Sector New York,
on or about 18 JUL 2020. (Date Range for Record Search: From
02/01/2015 To 03/31/2021)

4/1/2021

5/18/2021

SEC NY

 

2021-CGFO-00995

Privilege log of CG notice of 13 emails in CG possession for the
matter captioned United States Coast Guard v. Mark Steven
Stinziano, USCG Docket No. 2020-0328 CG Enforcement Activity
No., 57832758 (Date Range for Record Search: From 02/01/2015
To 03/31/2021)

4/1/2021

5/4/2021

SEC Boston

 

2021-CGFO-00994

Correspondence, in any format between Ms. Jennifer Mchaffey
and Mr. William Hewig on or about 14 OCT 2020. (Date Range for
Record Search: From 02/01/2015 To 03/31/2021)

4/1/2021

§/4/2021

Submitted to CG CYBER for communications search

 

2021-CGFO-00993

CGIS interview records, statements, summaries to include but
not limited to handwritten notes of the following (all dates are
approximate): Deck Cadet Benjamin P. Manning (CGIS 20 SEP
2018 and CGIS 03 SEP 2020); CM Mark Stinziano (CGIS JUL 2020);
Engine Cadet lan Stoner (CGIS 03 SEP 2020)

4/1/2021

$/4/2021

cGIs

 

2021-CGFO-00991

2M John Ryan Melogy (a/k/a J. Ryan Melogy or Ryan Melogy);
Ensign Stoner (CGIS 30 AUG 2019 and 24 AUG 2019); USMMA
Cadet(s) (CG Sector New York 22 JUL 2020 and 10 Jan 2020);
(Date Range for Record Search: From 02/01/2015 To
03/31/2021)

4/1/2021

5/4/2021

INV

 

2021-CGFO-00992

All records related to the Investigation file of Mr. Charles Wolf,
CG Sector New York, and John Ryan Melogy (a/k/a J. Ryan
Melogy or Ryan Melogy) and/or Maritime Legal Aid & Advocacy,
LTD (a/k/a Maritime Legal Aid & Advocacy or MLAA) and/or
Maritime Legal Solutions, PLLC and/or Captain Mark Steven
Stinziano (Date Range for Record Search: From 02/01/2015 To
03/31/2021)

4/1/2021

5/4/2021

Submitted to CG CYBER for communications search

 

 

2021-CGFO-00987

 

an unredacted copy of the response provided in FOIA 2020-CGFO,
02724 and a copy of correspondence from individuals within
USCG SEC New York, SEC Virginia, and the Hearing Office (Date
Range for Record Search: From 2/1/2015 To 3/31/2021)

 

3/31/2021

 

5/3/2021

 

SEC NY

 

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Description

 

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2021-CGFO-00985

All communications, in any format, to include but not limited to
emails—to/from/cc/bcc John Ryan Melogy (a/k/a J. Ryan Melogy
or Ryan Melogy) and/or Maritime Legal Aid & Advocacy, LTD
(a/k/a Maritime Legal Aid & Advocacy or MLAA) and/or Maritime
Legal Solutions, PLLC and/or Special Agent Denise Robinson
and/or Mr. Eric Bauer. This included but is not limited to
communications between Special Agent Denise Robinson and
Mr. Eric Bauer concerning John Ryan Melogy (a/k/a J. Ryan
Melogy or Ryan Melogy} and/or Maritime Legal Aid & Advacacy,
LTD (a/k/a Maritime Legal Aid & Advocacy or MLAA) and/or
Maritime Legal Solutions, PLLC. Additionally, emails forward by
Special Agent Denise Robinson and Mr. Eric Bauer concerning
John Ryan Melogy (a/k/a J. Ryan Melogy or Ryan Melogy) and/or
Maritime Legal Aid & Advocacy, LTD (a/k/a Maritime Legal Aid &
Advocacy or MLAA) and/or Maritime Legal Solutions, PLLC.

3/30/2021

5/2/2021

CGIS and D8

 

2021-CGFO-00876

All documents or communications in any format provided to
John Ryan Melogy (a/k/a J Ryan Melogy and Ryan Melogy),
Maritime Legal Solutions, PLLC and/or Maritime Legal Aid &
Advocacy (Date Range for Record Search: From 02/01/2015 To
03/17/2021)

3/17/2021

4/19/2021

Request submitted to CG CYBER for communications

search

 

2021-CGFO-00875

Maersk Line, Limited is requesting all United States Coast Guard
documents, in any format, and communications, in any format,
to include but not limited to electronic communication (a/k/a
email) concerning the following individual(s), topics, issues,
allegations, and/or investigations for the period of 01 FEB 2015
to the date of this submission: John Ryan Melogy (a/k/a J Ryan
Melogy, Ryan Melogy); Captain Mark Stinziano; Maersk Line,
Limited; Maersk Idaho; Allegations of sexual assault, sexual
harassment made by John Ryan Melogy to include but not
limited to pursuant to 46 USC Section 10104 and/or prohibited
under 18 USC Chapter 109A.; Maritime Legal Solutions, PLLC;
Maritime Legal Aid & Advocacy. The search of USCG personnel
includes but is not limited to the following: CDR Eric Runyon;
LCDR Eric Rivera; Mr. Charles Wolfe; CAPT Jason Tama; CAPT
Zeita Merchant and her predecessor as Deputy Sector
Commander Sector New York; BMCM Robert Riemer and his
predecessor as Command Master Chief Sector New York; LCDR
Brett L. Sprenger; CAPT Jason Neubauer; Ms. Denise F. Robinson;
CAPT Jennifer Robinson; CDR Christopher L. Jones; Mr. Joseph D.
Myers; COR Matthew J. Meskun; CAPT Peter S. Niles; Mr. Jack
Hern; Ms. Jennifer A. Mehaffey. This also includes but is not
limited to investigations conducted by the following: Coast Guard
Investigative Service; CAPT Jason Neubauer; LCOR Brett L.
Sprenger; CDR Eric Runyon; LCDR Eric Rivera; Mr. Charles Wolfe;
Ms. Jennifer A. Mehaffey. (Date Range for Record Search: From
02/01/2015 To 03/17/2021)

3/17/2021

4/19/2021

Request submitted to CG CYBER for communications

search

 

2021-CGFO-00846

A copy of FOIA request(s) submitted by J. Ryan Melogy and the
United States Coast Guards response(s) with a copy of all
documents provided from August 2018 through February 16,
2021; FOIA request(s) submitted by Maritime Legal Aid &
Advocacy, LTD (a/k/a Maritime Legal Aid & Advocacy or MLAA)
and the United States Coast Guards response(s) with a copy of all
documents provided from August 2018 through February 16,
2021’ and all U.S. Coast Guard Investigative Service
investigation(s) involving Maersk Line, Limited and/or any

Maersk Line, Limited employees from February 2015 through
February 16, 2021. For fee purposes, Maersk Line, Limited is a
private corporation. MLLis willing to pay fees for this request up
to a maximum of 1,000. If fees exceed this amount, please notify
the undersigned prior to proceeding with this request. Further,
MLL will accept records in electronic or paper formats. 5 U.S.C. §
552(a)(6)(A}(i) requires that your agency determine within 20
working days after receipt of this request whether the agency
will comply and immediately notify the undersigned of the
agency’s determination, the reasons therefore and appeal rights
in the event of an adverse determination. (D (Date Range for
Record Search: From 2/3/2015 To 3/12/2021)

 

 

3/12/2021

 

4/14/2021

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Request # Description Received Date Estimated Delivery Date Status
2021-CGFO-00845 |All records, documents, files and/or communications, in any 3/12/2021 4/28/2021| Request is being processed by the CGIS, Due to the
format, between the U.S. Coast Guard and the U.S. Attorney's requested communications records, an external search
Office for the Eastern District of New York concerning allegations must be completed by CGCYBER,
made by J, Ryan Melogy against Mark Stinziano as outlined in the
attached letter from RADM R. V. Timme, USCG dated March 2,
20121. (Date Range for Record Search: From 02/03/2015 To
03/12/2021)
** CG CYBER Searches are conducted
by the CYBER team and
results are then
forwarded to offices for
review of the data and
release. Processing of
individual requests can
begin after the CYBER
search has been
completed.
Staff Symbol Formal Name Point of Contact Contact Information
CGIS Coast Guard Investigative Service Langston Brooks (202) 372-3039
SEC Miami Sector Miami LTJG Alexandria Grant (786) 295-9011
CG-6P FOIA Office Amanda Ackerson 202-475-3522
CG-INV Office of Investigations Thelma Flood 202-372-1284
NMC National Maritime Center Michael Toth (304) 433-3729
AU Administative Law Judge Lauren Staiti (410) 962-5140
SEC NY Sector New York Lorin Dailey (718) 354-4162
SEC Boston Sector Boston Ryan Cuga (617) 557-9081

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